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                     IN THE UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF TEXAS
                               DALLAS DIVISION

CASTRO & CO., LLC,                            §
                                              §
       Plaintiff,                             §
                                              §
v.                                            §           Civil Action No. 3:18-CV-0643-N
                                              §
ANONYMIZE, INC., et al.,                      §
                                              §
       Defendants.                            §

                               ORDER TO SHOW CAUSE

       On March 19, 2018, summons for defendants Anonymize, Inc. and Ransu Salovaara

were issued to plaintiff. As of this date, service has not been effected by plaintiff.

       It is hereby ordered pursuant to Fed. R. Civ. P. 4(m) that within thirty (30) days of

the date of this order the plaintiff(s) show cause why this action should not be dismissed for

failing to effect service. If the Court does not receive a satisfactory response within the

amount of time specified, the Court will dismiss this action without prejudice by authority

of Rule 4(m).

       Signed June 22, 2018.




                                               ____________________________________
                                                           David C. Godbey
                                                      United States District Judge




ORDER – SOLO PAGE
